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  8                            IN THE UNITED STATES DISTRICT COURT
  9                              FOR THE EASTERN DISTRICT OF TEXAS
 10

 11
      EXXON MOBIL CORPORATION,                                Case No. 1:25-cv-11-MJT
 12
                                               Plaintiff, [PROPOSED] ORDER GRANTING
 13                                                       DEFENDANT ATTORNEY GENERAL
                     v.                                   ROB BONTA’S MOTION TO DISMISS
 14

 15   ROBERT ANDRES BONTA A.K.A. ROB
      BONTA, IN HIS INDIVIDUAL
 16   CAPACITY, ET AL.,
 17                                        Defendants.
 18

 19        Having considered the Parties’ argument, the Court GRANTS Attorney General Bonta’s

 20   Motion to Dismiss without leave to amend.

 21
      Dated: ___________________________                        __________________________
 22                                                             Hon. Michael Truncale
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              [Proposed] Order Granting Defendant Attorney General Rob Bonta’s Motion to Dismiss (1:25-cv-11-MJT)
